 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 1 of 31 PageID: 1




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 EBIN NEW YORK, INC.,

                   Plaintiff,

                   v.                      Civil Action No.

 GUANGZHOU YONGBANG
 BIOTECHNOLOGY CO. LTD.
 d/b/a GOIPLE; SHOPVIDI; INC.;
 GEORGIA ATLANTA BEAUTY
 SUPPLY ASSOCIATION; KAVEE
 TRADING LLC; OASISUSA, INC.;
 RICHARD CHON; and GG10, INC.,

                   Defendants.

                        COMPLAINT WITH JURY DEMAND

         Plaintiff EBIN New York, Inc. (“EBIN” or “Plaintiff”), by and through its

attorneys, asserts this Complaint against Defendants Guangzhou Yongbang

Biotechnology Co. Ltd., d/b/a GOIPLE (“GOIPLE”), ShopVidi, Inc. (“ShopVidi”),

Georgia Atlanta Beauty Supply Association (“GABSA”), Kavee Trading LLC

(“Kavee”), OasisUSA, Inc. (“OasisUSA”), Richard Chon (“Mr. Chon”) and GG10,

Inc. (“GG10”) (ShopVidi, GABSA, Kavee, Oasis, and GG10 are collectively

referred to as “Reseller Defendants,” and with GOIPLE they are collectively referred

to as “Defendants”) as set forth below:



121596439.2
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 2 of 31 PageID: 2




                              NATURE OF THE ACTION

         1.   EBIN is a provider of hair and wig care products that has quickly

become a leader in its class. Its products dominate the sales charts for many of the

markets that it has entered. EBIN offers its products in a variety of stylized packages

and in connection with various trademarks across its product lines that consumers

now use to associate the products with EBIN.

         2.   GOIPLE is a provider of hair and wig care products that is a direct

competitor of EBIN. GOIPLE operates in the same product space, marketing

channels, and stores as EBIN, and targets the same customers with the same goods.

GOIPLE has realized the overwhelming success of EBIN’s products and has just

released a new product line with new packaging that is confusingly similar to the

packaging offered by EBIN for the corresponding product line. It has also released

advertisements that not only use EBIN’s federally registered trademarks, but are a

copy of advertisements that EBIN has released, featuring the same model and

substantially similar text.

         3.   GOIPLE sells its infringing products direct to customers online, and

through various distribution networks including a variety of direct retailers,

distributors and/or wholesalers.




121596439.2
                                          -2-
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 3 of 31 PageID: 3




         4.    EBIN is experiencing significant harm from GOIPLE’s new product

release, and now brings this action asserting claims for (1) infringement of

registered trademarks under the Lanham Act (15 U.S.C. § 1114); (2) infringement

of unregistered trademarks under the Lanham Act (15 U.S.C. § 1125(a));

(3) infringement of unregistered trade dress under the Lanham Act (15 U.S.C.

§ 1125(a)); (4) federal unfair competition and false designation of origin under the

Lanham Act (15 U.S.C. § 1125(a); (5) New Jersey statutory trademark infringement

N.J.S.A. 56:3-13.16.a for infringement of EBIN’s trademarks; (5) New Jersey

statutory trademark infringement N.J.S.A. 56:3-13.16.a for infringement of EBIN’s

trade dress; (7) New Jersey common law trademark infringement and unfair

competition; and (8) New Jersey common law trade dress infringement and unfair

competition.

                                   THE PARTIES

         5.    Plaintiff EBIN is a corporation existing under the laws of New Jersey,

having a principal place of business at 5 Empire Blvd., South Hackensack,

New Jersey 07606.

         6.    On information and belief, GOIPLE is a corporation existing under the

laws of China, having a principal place of business at Room 203, Building C, No. 4




121596439.2
                                          -3-
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 4 of 31 PageID: 4




Siheng         Road,   Hebian   Hetai   Road,    Helong   Street,     Baiyun   District,

Guangzhou China 510000.

         7.      On information and belief, Defendant ShopVidi, Inc., is a Delaware

corporation with its principal place of business in Doraville, Georgia.

         8.      On information and belief, Defendant Georgia Atlanta Beauty Supply

Association is a Georgia domestic non-profit corporation with its principal place of

business in Doraville, Georgia.

         9.      On information and belief, Defendant Kavee Trading LLC is a domestic

Georgia limited liability company with its principal place of business in

Duluth, Georgia.

         10.     On information and belief, Defendant OasisUSA, Inc. is a Georgia

corporation with its principal place of business in Suwanee, GA.

         11.     On information and belief, Defendant Richard Chon is an individual

and resident of Suwanee, Georgia, who operates under the business name

“GOLDSTAR JS.” GOLDSTAR JS SALES, INC. was formerly a Georgia

corporation but was administratively dissolved on October 28, 2022.

         12.     On information and belief, Defendant GG10, Inc. is a New Jersey

corporation with its principal place of business in Ridgefield, NJ.




121596439.2
                                           -4-
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 5 of 31 PageID: 5




                           JURISDICTION AND VENUE

         13.   Pursuant to 28 U.S.C. §§ 1331 and 1338, this Court has original subject

matter jurisdiction over this action because the action arises under the laws of the

United States, including the Lanham Act, 15 U.S.C. § 1051 et seq.

         14.   Pursuant to 28 U.S.C. § 1367, this Court has supplemental subject

matter jurisdiction over EBIN’s pendent state law claims because these claims are

so related to EBIN’s federal claims that they form part of the same case or

controversy and derive from the same common nucleus of operative facts.

         15.   On information and belief, venue is appropriate in this district as this is

a district where much of the complained of activities occurred, one of the Defendants

is a resident of this district, EBIN is a resident of this district, and as a foreign entity,

GOIPLE may be sued in any state pursuant to 28 U.S.C. § 1391.

         16.   On information and belief, GOIPLE conducts continuous and

systematic business in this forum in such a manner as to invoke the benefits and

protections of its laws, and subject itself to general personal jurisdiction in this

forum.

         17.   This Court has specific personal jurisdiction over GOIPLE because

GOIPLE has purposefully directed its actions into the State of New Jersey.




121596439.2
                                            -5-
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 6 of 31 PageID: 6




         18.     On information and belief, GOIPLE specifically sells goods to retailers

within this state with the intent that its goods be sold to residents in this state.

         19.     On information and belief, this court has specific personal jurisdiction

over the Reseller Defendants because ShopVidi, GABSA, Kavee, Mr. Chon, GG10,

and Oasis all purposefully direct sales and/or promotional activities, including

shipping infringing products, and distributing advertisements, to customers within

this district.

                              FACTUAL BACKGROUND

                              EBIN’s Intellectual Property

         20.     EBIN manufactures a wide variety of hair care and wig care products,

several of which are targeted primarily at the African-American female community.

         21.     EBIN’s products, while generally of a low cost, often under $10 per

unit, are of a superior quality to those of its direct competitors.

         22.     EBIN offers its products in a variety of unique and stylized packaging.

         23.     EBIN also offers its products in connection with a number of federally

registered trademarks.

         24.     One of EBIN’s most successful product lines is its WONDER LACE

BOND line gels, adhesives, and sprays.




121596439.2
                                            -6-
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 7 of 31 PageID: 7




         25.   The WONDER LACE BOND gels, adhesives, and sprays are used to

adhere lace front wigs to the scalp of those who wear the wigs to ensure that the wigs

do not move during ordinary use.

         26.   A highly popular version of the WONDER LACE BOND gel is sold in

stylized packaging consisting of a white bottle with a black label with gold and white

text on the label. The bottle has a black pull-to-open top that is resealable.

         27.   A highly popular version of the WONDER LACE BOND adhesive is

sold in stylized packaging consisting of a white bottle with a black label with gold

and white text on the label. The cap of the bottle is gold and screw-off.

         28.   A highly popular version of the WONDER LACE BOND spray is sold

in stylized packaging consisting of a black label with gold and white text.

         29.   Each of EBIN’s products has its own individual, valid, and unique trade

dress as described above, but for the purpose of this complaint, these products are

collectively referred to as “EBIN’s Trade Dress.” Pictures of samples of products

featuring EBIN’s Trade Dress are reproduced below.




121596439.2
                                          -7-
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 8 of 31 PageID: 8




               EBIN’s gel (left) adhesive (center) spray (right) Collectively, “EBIN’s Trade Dress”


         30.   This unique combination of features that are identified as EBIN’s Trade

Dress are not functional, as they do not impact the cost or quality of EBIN’s

products, and EBIN’s exclusive use of said packaging does not place its competitors

at a significant non-reputational disadvantage.


121596439.2
                                                      -8-
 Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 9 of 31 PageID: 9




         31.   EBIN’s Trade Dress, which EBIN was the exclusive user of,

particularly in the wig bond space, is inherently distinctive, and has come to acquire

significant secondary meaning in the minds of consumers who now use this unique

trade dress to identify products produced by EBIN.

         32.   Products that bear EBIN’s Trade Dress have been a resounding

commercial success, selling a commercially significant number of units compared

to their peers since their launch in March 2021.

         33.   EBIN’s sales of the WONDER LACE BOND gel, adhesive, and spray

in EBIN’s Trade Dress are considered significant and highly successful by any

industry standard.

         34.   This significant commercial success demonstrates the significant

secondary meaning that EBIN has acquired in EBIN’s Trade Dress.

         35.   EBIN’s Trade Dress is arbitrary as it is used in connection with wig

bond gels, adhesives, and sprays, and is therefore conceptually strong.

         36.   Given the significant sales of products that feature EBIN’s Trade Dress,

the trade dress is commercially strong as well.

         37.   EBIN’s Trade Dress is valid and subsisting.




121596439.2
                                          -9-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 10 of 31 PageID: 10




         38.   EBIN also owns a number of federally registered trademarks for hair

and wig care products. Among those trademarks are federal registrations for its

24 HOUR EDGE TAMER trademark.

         39.   The   first registration,   United   States   Trademark   Registration

No. 4958982 (the “’982 Registration”), is for 24 HOUR EDGE TAMER as a

standard character mark for “Hair care preparations; Hair pomades; Hair styling

preparations; Pomades” in International Class 3. The ’982 Registration was filed on

August 24, 2015, issued as a registration on May 17, 2016, and claims a first use in

commerce date at least as early as July 1, 2015. The ’982 Registration is now

incontestable. A copy of the ’982 Registration certificate is attached as Exhibit A.

         40.   The second registration, United States Trademark Registration

No. 6895302 (the “’302 Registration”), is for 24 HOUR EDGE TAMER and Design

as a design mark for “Hair care preparations; Hair pomades; Hair styling

preparations; Pomades” in International Class 3. The ’302 Registration was filed on

April 12, 2022, issued as a registration on November 8, 2022, and claims a first use

in commerce date at least as early as July 1, 2015. A copy of the ’302 Registration

certificate is attached as Exhibit B. The ’982 and ’302 Registrations are collectively

referred to hereinafter as “EBIN’s Trademark Registrations.”




121596439.2
                                           -10-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 11 of 31 PageID: 11




               24 HOUR EDGE TAMER AND DESIGN Mark That is the Subject of the ’302 Registration




         41.      EBIN’s Trademark Registrations are valid and subsisting.

         42.      The subject marks of EBIN’s Trademark Registrations are suggestive

when used in connection with the advertising and sale of goods identified in the

registrations.

         43.      EBIN offers its products in connection with EBIN’s Trademark

Registrations to the same customers and through the same marketing channels, and

at generally the same price points as it offers its products in connection with EBIN’s

Trade Dress.

         44.      Products that EBIN offers in connection with the subject marks of

EBIN’s Trademark Registrations have been a resounding commercial success,

selling a commercially significant number of units compared to its peers since

products featuring EBIN’s Trademark Registrations first were offered in July 2015.

         45.      EBIN’s sales of products sold in connection with the subject marks of

EBIN’s Trademark Registrations are considered significant and highly successful by



121596439.2
                                                   -11-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 12 of 31 PageID: 12




any industry standard. This creates significant secondary meaning in the subject

marks of EBIN’s Trademark Registrations.

                         GOIPLE’s Acts of Infringement

         46.   GOIPLE is a manufacturer of wig bond products and is one of EBIN’s

primary competitors in this space.

         47.   GOIPLE recently released a new line of lace gels, adhesives, and

sprays. These new products are provided in packaging highly similar to that of

EBIN’s WONDER LACE BOND gels, adhesives, and/or sprays. GOIPLE’s gel is

sold in stylized packaging consisting of a white bottle with a black label with gold

and white text on the label. The bottle has a black pull-to-open top that is resealable.

Similarly, GOIPLE’s adhesive is sold in stylized packaging consisting of a white

bottle with a black label with gold and white text on the label. The cap of the bottle

is gold and screw-off. Likewise, GOIPLE’s spray is sold in a white bottle that bears

a black label with black and gold text. Together, these products are collectively

referred to as the “Infringing Packaging.”




121596439.2
                                         -12-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 13 of 31 PageID: 13




   Gel and adhesive with EBIN’s Trade Dress (Left) vs gel and adhesive with GOIPLE’s Infringing Packaging (Right)




              EBIN’s Trade Dress (Left) vs melting spray with GOIPLE’s Infringing Packaging (Right)




121596439.2
                                                      -13-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 14 of 31 PageID: 14




         48.   On information and belief, GOIPLE was aware of EBIN’s Trade Dress,

and the success of products featuring EBIN’s Trade Dress, before it started designing

the Infringing Packaging.

         49.   On information and belief, this new packaging was meant to freeride

on the goodwill associated with EBIN’s Trade Dress, and cause confusion and

mistake among the relevant consumers who would purchase GOIPLE’s gel,

adhesive, and spray products, believing them to be the products offered by EBIN.

         50.   On information and belief, the products offered by GOIPLE in the

Infringing Packaging are very inexpensive and cost under $10 per bottle on average.

         51.   On information and belief, GOIPLE targets the same customers for the

products that it sells in connection with the Infringing Packaging as the customers

that EBIN targets for products that it sells in connection with EBIN’s Trade Dress.

         52.   On information and belief, GOIPLE uses the same marketing channels

for the products that it sells in connection with the Infringing Packaging as the

marketing channels that EBIN uses for products that it sells in connection with

EBIN’s Trade Dress.

         53.   On information and belief, the products that GOIPLE sells in

connection with the Infringing Packaging are sold in the same retail stores as EBIN’s

products that feature EBIN’s Trade Dress.


121596439.2
                                        -14-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 15 of 31 PageID: 15




         54.   On information and belief, the products that GOIPLE sells in

connection with the Infringing Packaging are the exact same type of products,

namely, lace wig gels, adhesives, and sprays as EBIN’s products that feature EBIN’s

Trade Dress.

         55.   On information and belief, due to the inexpensive price of the products

that GOIPLE sells in connection with the Infringing Packaging and EBIN’s products

that feature EBIN’s Trade Dress, customers exercise little care, and conduct a limited

investigation, if any, when purchasing the products.

         56.   On information and belief, EBIN is suffering economic harm by a loss

in sales from customers purchasing the products that GOIPLE sells in the Infringing

Packaging while believing them to be the product that EBIN offers in connection

with EBIN’s Trade Dress.

         57.   In addition to the above acts of infringement, GOIPLE has also

infringed EBIN’s rights in EBIN’s Trademark Registrations.

         58.   On   information    and   belief,   GOIPLE     has   been   promoting

advertisements featuring the subject marks of EBIN’s Trademark Registrations on

various storefronts that are targeted to the U.S. market. Below is a screenshot of one

such advertisement that is offering a multi-pack of products, some of which embody

the Infringing Packaging (the “Infringing Advertisement”). This advertisement


121596439.2
                                         -15-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 16 of 31 PageID: 16




appears on shein.com, a popular online beauty retailer that ships products into

the US.




          GOIPLE’s Infringing Use of the Subject Marks of the EBIN’s Trademark Registrations on shein.com

         59.      The 24 HOUR EDGE TAMER mark as used by GOIPLE

(the “24 HOUR EDGE TAMER Mark”) is identical to the subject mark of the

’982 Registration, and substantially identical, down to the use of a stylized clock, to

the subject mark of the ’302 Registration.

         60.      The goods that GOIPLE offers in connection with the 24 HOUR EDGE

TAMER Mark are related to if not the same goods as those that EBIN offers in

connection with EBIN’s Trademark Registrations.




121596439.2
                                                      -16-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 17 of 31 PageID: 17




         61.   The customers that GOIPLE targets in connection with the 24 HOUR

EDGE TAMER Mark are the same that EBIN targets in connection with EBIN’s

Trademark Registrations.

         62.   The marketing channels that GOIPLE uses in connection with products

advertised in connection with the 24 HOUR EDGE TAMER Mark are the same that

EBIN uses in connection with EBIN’s Trademark Registrations.

         63.   These acts of trademark infringement were clearly and unquestionably

willful, especially given the fact that the Infringing Advertisement depicted above is

actually a copy of an advertisement that EBIN previously made using the same photo

of the same model (EBIN’s Advertisement”). Even the feature list on the bottom of

GOIPLE’s Infringing Advertisement is the same, as is the use of the trademark

registration symbol ® in connection with the 24 HOUR EDGE TAMER Mark.




                    EBIN’s Advertisement Next to GOIPLE’s Infringing Advertisement




121596439.2
                                                -17-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 18 of 31 PageID: 18




         64.   Copying EBIN’s advertising, down to the model that was used, and the

® symbol, constitutes unfair competition and false destination of origin.

         65.   The above, together with a cease and desist letter that EBIN sent to

GOIPLE warning that it was infringing EBIN’s rights in EBIN’s Trade Dress by its

continued sales and distribution of products that feature the Infringing Packaging,

demonstrates that GOIPLE’s various acts of trademark infringement, trade dress

infringement, false designation of origin, and unfair competition are unquestionably

willful, and clearly designed to freeride on the goodwill associated with EBIN’s

Trade Dress and Trademark Registrations.

         66.   On information and belief, the Reseller Defendants each sell and/or

distribute at least one of the above-identified products that feature the Infringing

Packaging, targeting the same customers as EBIN targets with sales of its products

that feature EBIN’s Trade Dress. This constitutes trade dress infringement.

         67.   On information and belief, the Reseller Defendants all were aware of

EBIN’s rights in EBIN’s Trade Dress before they began selling and/or distributing

products that feature the Infringing Packaging.

         68.   As to ShopVidi and GABSA, EBIN sent cease and desist letters to the

entities warning them that they were infringing EBIN’s rights in EBIN’s Trade Dress

by their continued sales and/or distribution of products that feature the


121596439.2
                                        -18-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 19 of 31 PageID: 19




Infringing Packaging. Despite these warnings, these Reseller Defendants continued

to sell and/or distribute the products that feature the Infringing Packaging.

         69.   On information and belief, ShopVidi and GABSA’s acts of trade dress

infringement were willful.

                          FIRST CAUSE OF ACTION
       (Infringement of Federally Registered Trademarks Against GOIPLE
                               [15 U.S.C. § 1114])
         70.   EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-69 of this Complaint as if fully set forth herein.

         71.   EBIN owns rights in EBIN’s Trademark Registrations.

         72.   The subject marks of EBIN’s Trademark Registrations are at least

suggestive when used in connection with the goods identified in EBIN’s Trademark

Registrations.

         73.   The subject marks of EBIN’s Trademark Registrations are

commercially strong.

         74.   The subject marks of EBIN’s Trademark Registrations are conceptually

strong.

         75.   EBIN has acquired significant secondary meaning in the subject marks

of EBIN’s Trademark Registrations.




121596439.2
                                         -19-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 20 of 31 PageID: 20




         76.   On information and belief, GOIPLE was aware of the subject marks of

EBIN’s Trademark Registrations before advertising products in connection with the

24 HOUR EDGE TAMER Mark.

         77.   The products that GOIPLE offers in connection with the 24 HOUR

EDGE TAMER Mark are the same products or related to the products that EBIN

offers in connection with the subject marks of EBIN’s Trademark Registrations.

         78.   On information and belief, the products that GOIPLE offers in

connection with the 24 HOUR EDGE TAMER Mark are targeted to the same

customers as the products that EBIN offers in connection with the subject marks of

EBIN’s Trademark Registrations.

         79.   On information and belief, the products that GOIPLE offers in

connection with the 24 HOUR EDGE TAMER Mark are offered in the same

marketing channels and retail locations as the products that EBIN offers in

connection with the subject marks of EBIN’s Trademark Registrations.

         80.   On information and belief, the products that GOIPLE offers in

connection with the 24 HOUR EDGE TAMER Mark and the products that EBIN

offers in connection with the subject marks of EBIN’s Trademark Registrations are

inexpensive, costing less than $10 on average, and customers do not exercise a great

deal of care when purchasing the products.


121596439.2
                                        -20-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 21 of 31 PageID: 21




         81.     On information and belief, GOIPLE’s sale of products in connection

with the 24 HOUR EDGE TAMER Mark is likely to cause confusion as to the

source, origin, and sponsorship of GOIPLE and the products that it sells on the one

hand and EBIN and the products that it sells in connection with the subject marks of

EBIN’s Trademark Registrations on the other.

         82.     The above identified actions constitute infringement of a registered

trademark violation of the Lanham Act.

         83.     On information and belief, GOIPLE’s acts of trademark infringement

are willful.

         84.     As a direct and proximate result of GOIPLE’s trademark infringement,

EBIN has suffered and will continue to suffer irreparable harm and damages.

         85.     EBIN is entitled to injunctive relief and other remedies available under

the Lanham Act, including but not limited to GOIPLE’s profits, any damages

sustained by EBIN, the trebling of any damages according to the circumstances of

this case, attorneys’ fees, costs, and prejudgment interest.

                            SECOND CAUSE OF ACTION
              (Infringement of Unregistered Trademarks Against GOIPLE
                                 [15 U.S.C. § 1125(a)])
         86.     EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-85 of this Complaint as if fully set forth herein.



121596439.2
                                            -21-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 22 of 31 PageID: 22




         87.   The acts described in the first cause of action above also constitute

unfair competition/infringement of an unregistered trademark in violation of 15

U.S.C. § 1125(a) as EBIN has significant common-law rights and secondary

meaning in association with the subject marks of EBIN’s Trademark Registrations

for the goods identified therein.

         88.   On information and belief, GOIPLE’s acts of trademark infringement

are willful.

         89.   As a direct and proximate result of GOIPLE’s trademark infringement,

EBIN has suffered and will continue to suffer irreparable harm and damages.

         90.   EBIN is entitled to injunctive relief and other remedies available under

the Lanham Act, including but not limited to GOIPLE’s profits, any damages

sustained by EBIN, the trebling of any damages according to the circumstances of

this case, attorneys’ fees, costs, and prejudgment interest.

                          THIRD CAUSE OF ACTION
        (Infringement of Unregistered Trade Dress Against All Defendants
                             [15 U.S.C. § 1125(a)])
         91.   EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-90 of this Complaint as if fully set forth herein.

         92.   EBIN owns common law trade dress rights to EBIN’s Trade Dress

based on EBIN’s prior continuous and exclusive use of EBIN’s Trade Dress in

commerce.

121596439.2
                                          -22-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 23 of 31 PageID: 23




         93.   EBIN’s Trade Dress is arbitrary and is inherently distinctive when used

in connection with lace bond gels, adhesives, and sprays.

         94.   EBIN’s Trade Dress is commercially strong.

         95.   EBIN’s Trade Dress is conceptually strong.

         96.   EBIN’s Trade Dress is not functional.

         97.   EBIN has acquired significant secondary meaning in EBIN’s

Trade Dress.

         98.   On information and belief, GOIPLE was aware of EBIN’s Trade Dress

before adopting the Infringing Packaging.

         99.   On information and belief, the products that GOIPLE offers through the

Reseller Defendants and other distribution channels in connection with the

Infringing Packaging are the same products or are related to the products that EBIN

offers in connection with EBIN’s Trade Dress.

         100. On information and belief, the products that GOIPLE offers through the

Reseller Defendants and other distribution channels in connection with the

Infringing Packaging are targeted to the same customers as the products that EBIN

offers in connection with EBIN’s Trade Dress.

         101. On information and belief, the products that GOIPLE offers through the

Reseller Defendants and other distribution channels in connection with the


121596439.2
                                         -23-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 24 of 31 PageID: 24




Infringing Packaging are offered in the same marketing channels and retail locations

as the products that EBIN offers in connection with EBIN’s Trade Dress.

         102. On information and belief, the products that GOIPLE offers through the

Reseller Defendants and other distribution channels in connection with the

Infringing Packaging and the products that EBIN offers in connection with EBIN’s

Trade Dress are inexpensive, costing less than $10 on average, and customers do not

exercise a great deal of care when purchasing the products.

         103. On information and belief, GOIPLE’s and the Reseller Defendants’ sale

and/or distribution of products in connection with the Infringing Packaging is likely

to cause confusion as to the source, origin, sponsorship of GOIPLE and the products

that it sells on the one hand and EBIN and the products that it sells in connection

with EBIN’s Trade Dress on the other.

         104. The above identified actions constitute infringement of unregistered

trade dress in violation of the Lanham Act.

         105. On information and belief, GOIPLE’s, ShopVidi’s and GABSA’s acts

of trade dress infringement are willful.

         106. As a direct and proximate result of Defendants’ trade dress

infringement, EBIN has suffered and will continue to suffer irreparable harm and

damages.


121596439.2
                                           -24-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 25 of 31 PageID: 25




         107. EBIN is entitled to injunctive relief and other remedies available under

the Lanham Act, including but not limited to Defendants’ profits, any damages

sustained by EBIN, the trebling of any damages according to the circumstances of

this case, attorneys’ fees, costs, and prejudgment interest.

                        FOURTH CAUSE OF ACTION
     (False Designation of Origin and Unfair Competition Against GOIPLE
                             [15 U.S.C. § 1125(a)])
         108. EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-107 of this Complaint as if fully set forth herein.

         109. On information and belief, GOIPLE was aware of EBIN’s

Advertisement before adopting its Infringing Advertisement.

         110. The products that GOIPLE offers in connection with its Infringing

Advertisement are the same products or related to the products that EBIN offers in

connection with EBIN’s Advertisement.

         111. On information and belief, the products that GOIPLE offers in

connection with its Infringing Advertisement are targeted to the same customers as

the products that EBIN offers in connection with EBIN’s Advertisement.

         112. On information and belief, the products that GOIPLE offers in

connection with its Infringing Advertisement are offered in the same marketing

channels and/or retail locations as the products that EBIN offers in connection with

EBIN’s Advertisement.

121596439.2
                                          -25-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 26 of 31 PageID: 26




         113. On information and belief, the products that GOIPLE offers in

connection with its Infringing Advertisement and the products that EBIN offers in

connection with EBIN’s Advertisement are inexpensive, costing less than $10 on

average, and customers do not exercise a great deal of care when purchasing the

products.

         114. On information and belief, GOIPLE’s sale of products in connection

with its Infringing Advertisement is likely to cause confusion as to the source, origin,

and sponsorship of GOIPLE and the products that it sells on the one hand and EBIN

and the products that it sells in connection with EBIN’s Advertisement on the other.

         115. By copying EBIN’s Advertisement down to the photo of the model and

text of the advertisement, GOIPLE was intending to freeride on the goodwill

associated with EBIN, and to deceive customers into believing that the products

advertised by GOIPLE were the same or related to the products advertised by EBIN,

or that GOIPLE itself, or its products were related to or affiliated with EBIN.

         116. The above identified actions constitute a false designation of origin and

unfair competition under the Lanham Act.

         117. On information and belief, GOIPLE’s acts of false designation of origin

and unfair competition are willful.




121596439.2
                                          -26-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 27 of 31 PageID: 27




         118. As a direct and proximate result of GOIPLE’s false designation of

origin and unfair competition, EBIN has suffered and will continue to suffer

irreparable harm and damages.

         119. EBIN is entitled to injunctive relief and other remedies available under

the Lanham Act, including but not limited to GOIPLE’s profits, any damages

sustained by EBIN, the trebling of any damages according to the circumstances of

this case, attorneys’ fees, costs, and prejudgment interest.

                          FIFTH CAUSE OF ACTION
    (Violation of the New Jersey Statutory Trademark Infringement Against
                 GOIPLE [N.J.S.A. 56:3-13.16.a] (Word Mark))
         120. EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-119 of this Complaint as if fully set forth herein.

         121. The activities identified in the first and second causes of action also

constitute trademark infringement in violation of N.J.S.A. 56:3-13.16.a.

         122. On information and belief, GOIPLE’s acts of trademark infringement

are willful.

         123. As a direct and proximate result of Defendant’s trademark

infringement, EBIN has suffered and will continue to suffer irreparable harm and

damages.

         124. EBIN is entitled to injunctive relief and other remedies available under

N.J.S.A. 56:3-13.16.a et. seq, including but not limited to Defendant’s profits, any

121596439.2
                                          -27-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 28 of 31 PageID: 28




damages sustained by EBIN, the trebling of any damages according to the

circumstances of this case, attorneys’ fees, costs, and prejudgment interest.

                        SIXTH CAUSE OF ACTION
 (Violation of the New Jersey Statutory Trademark Infringement Against All
               Defendants [N.J.S.A. 56:3-13.16.a] (Trade Dress))
         125. EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-124 of this Complaint as if fully set forth herein.

         126. The activities identified in the third cause of action also constitute trade

dress infringement in violation of N.J.S.A. 56:3-13.16.a.

         127. On information and belief, GOIPLE’s, ShopVidi’s and GABSA’s acts

of trademark infringement are willful.

         128. As a direct and proximate result of Defendants’ trade dress

infringement, EBIN has suffered and will continue to suffer irreparable harm and

damages.

         129. EBIN is entitled to injunctive relief and other remedies available under

N.J.S.A. 56:3-13.16.a et. seq, including but not limited to Defendants’ profits, any

damages sustained by EBIN, the trebling of any damages according to the

circumstances of this case, attorneys’ fees, costs, and prejudgment interest.




121596439.2
                                           -28-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 29 of 31 PageID: 29




                  SEVENTH CAUSE OF ACTION
(New Jersey Common Law Trademark Infringement and Unfair Competition
                         Against GOIPLE)
         130. EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-129 of this Complaint as if fully set forth herein.

         131. The activities identified in the first, second, fourth and fifth causes of

action also constitute trademark infringement and unfair competition in violation of

the New Jersey common law.

         132. On information and belief, GOIPLE’s acts of trademark infringement

and unfair competition are willful.

         133. As a direct and proximate result of Defendant’s trademark infringement

and unfair competition, EBIN has suffered and will continue to suffer irreparable

harm and damages.

         134. EBIN is entitled to injunctive relief and other remedies available at

common law, including but not limited to Defendant’s profits, any damages

sustained by EBIN, the trebling of any damages according to the circumstances of

this case, attorneys’ fees, costs, and prejudgment interest.

                         EIGHTH CAUSE OF ACTION
          (New Jersey Common Law Trade Dress Infringement and Unfair
                       Competition Against All Defendants)
         135. EBIN hereby incorporates by reference each of the allegations in

paragraphs 1-134 of this Complaint as if fully set forth herein.


121596439.2
                                           -29-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 30 of 31 PageID: 30




         136. The activities identified in the third and sixth causes of action also

constitute infringement of unregistered trade dress and unfair competition in

violation of the New Jersey common law.

         137. On information and belief, GOIPLE’s, ShopVidi’s and GABSA’s acts

of trade dress infringement and unfair competition are willful.

         138. As a direct and proximate result of Defendants’ trade dress

infringement and unfair competition, EBIN has suffered and will continue to suffer

irreparable harm and damages.

         139. EBIN is entitled to injunctive relief and other remedies available at

common law, including but not limited to Defendants’ profits, any damages

sustained by EBIN, the trebling of any damages according to the circumstances of

this case, attorneys’ fees, costs, and prejudgment interest.

                               PRAYER FOR RELIEF

         WHEREFORE, EBIN prays for:

         A.    A preliminary and permanent injunction restraining Defendants, their

officers, directors, agents, employees, representatives and all persons acting in

concert with Defendants, from engaging in any further trademark infringement, trade

dress infringement, false designation of origin, deceptive trade practices, and unfair

competition.


121596439.2
                                         -30-
Case 2:23-cv-03439-MEF-JRA Document 1 Filed 06/23/23 Page 31 of 31 PageID: 31




         B.    Judgment in favor of EBIN for all of EBIN’s enumerated causes

of action.

         C.    An award of Defendants’ profits, or EBIN’s actual damages, whichever

are greater.

         D.    A finding that Defendants’ actions were willful.

         E.    A finding that this is an extraordinary case.

         F.    Trebling of damages.

         G.    An award of EBIN’s attorney’s fees and costs in this matter.

         H.    Such other and further relief as the Court deems proper.

                                    JURY DEMAND

         Plaintiff EBIN New York, Inc. requests a trial by jury on all issues so triable.

Dated: June 23, 2023                 Respectfully submitted,
                                  By      s/John K. Kim
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121596439.2
                                           -31-
